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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF VERMONT



  BURLINGTON SCHOOL DISTRICT

                 Plaintiff,                             C.A. No. 2:22-CV-215-WKS
  v.

  MONSANTO CO., SOLUTIA, INC., and
  PHARMACIA LLC

                 Defendants.



                        STIPULATION REGARDING DISCOVERY

       The Parties, by and through their respective counsel, agree and stipulate as follows:

       On October 5, 2022, Tracy L. Rubman and James Ellery Baker sued Defendants

concerning Ms. Rubman’s alleged polychlorinated biphenyl (“PCB”) exposure at Burlington

High School. See Tracy L. Rubman, et al. v. Monsanto Company, et al., No. 2:22-cv-00181-wks

(“Rubman”). On December 9, 2022, Plaintiff Burlington School District (“BSD”) sued

Defendants for alleged property damage caused by PCBs at Burlington High School. Pursuant to

a third-party subpoena issued in Rubman in November 2022, and first party discovery issued to

BSD in the above captioned lawsuit, BSD has produced to Defendants documents and

communications concerning, among other things, the design, construction, maintenance, and

renovation history of Burlington High School.

       Since Rubman and the above captioned lawsuit were filed, two additional personal injury

lawsuits have been filed against Defendants concerning alleged PCB exposure at Burlington

High School. See Josepha W. Austin, et al. v. Monsanto Company, et al., 2:23-cv-272-wks

(“Austin”); Sacha Smith, et al. v. Monsanto Company, et al., 2:24-cv-0074-gcw (“Smith”).
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       The Parties stipulate and agree that all documents and communications produced by BSD

to Defendants may be used by all parties in litigating Rubman, Austin, and Smith regardless of

whether the documents were produced in BSD’s capacity as a third-party subpoena recipient in

Rubman, or as a plaintiff in this case. The Parties further agree that documents and

communications designated by BSD as “CONFIDENTIAL MATERIALS” are governed by the

Stipulated Protective Order (Doc. No. 50) regardless of the protective orders in place in Rubman,

Austin, and Smith. This Stipulation is designed to relieve BSD of the burden of reproducing

documents in related litigation. By making this Stipulation, the Parties do not waive their right

to object to the admissibility of any document produced, including but without limitation to,

objections based on privilege, authentication, hearsay, the work product doctrine, relevance, or

prejudice. This stipulation also does not preclude Defendants from issuing additional subpoenas

to BSD to address issues specific to the plaintiffs in Rubman, Austin, and Smith, including but

not limited to, attendance records, personnel files, and relevant communications.

       Dated: September 5, 2024.




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Respectfully submitted,
BURLINGTON SCHOOL DISTRICT                     MONSANTO CO., SOLUTIA, INC., and
                                               PHARMACIA LLC

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IT IS SO ORDERED:

Dated: __________________, 2024.                            ____________________________
                                                            Hon. William K. Sessions III
                                                            United States District Judge




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